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   Donald J. Trump

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            Full Transcript


                   Donald Trump    00:00:00-00:00:26 (27 sec)                                                                             NO SIGNAL (0.241)
            
                   Well, thank you very much. Thank you. Thank you, Pam, very much. What a job you're doing, and it's a true honor to be with you
                   today. It's very stirring. This is a storied hall, if there ever was one. And based on the crowd, I think we broke the all-time record.
                   But as we begin a proud new chapter in the chronicles of American justice, this really is something.


                   Donald Trump    00:00:26-00:00:55 (29 sec)                                                                             NO SIGNAL (0.072)
            
                   We're turning the page on four long years of corruption, weaponization and surrender to Violent criminals. And we're restoring
                   fair, equal and impartial justice under the constitutional rule of law. And you're the people that are doing it. Very, very proud of

                   all of you. Under the Trump administration, the DOJ and the FBI will once again become the premier crime fighting agencies on
                   the face of the Earth.


                   Donald Trump    00:00:55-00:01:14 (19 sec)                                                                             NO SIGNAL (0.766)
            
                   People ask me what am I going to do about law enforcement all the time. The fake news back there, they're asking me that all
                   the time, what am I going to do and when are you going to do it? And I answer them by saying I've already done most of it by
                   appointing the people that I've appointed. They're sitting right here.


                   Donald Trump    00:01:14-00:01:38 (23 sec)                                                                             NO SIGNAL (0.629)
            
                   They've done most of it. I don't do it. They do it, right, Pam? I think, oh, you are so tough, they just don't know yet. Let me begin
                   by congratulating the incredible people who will lead these historic reforms. And we start with somebody that you just saw,
                                                                                                                                                              X
                   Pam Bondi. She's extraordinary and I've known her very well for a long time.


                   Donald Trump    00:01:38-00:02:02 (24 sec)                                                                             NO SIGNAL (0.327)
            
                   I watched her for a long time in Florida, for years in Florida and highly experienced. She seems so young, but she's highly

                   experienced, that I can tell you. She was a phenomenal attorney general in Florida and she's going to do a really amazing job.


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                   Also, a new director of the FBI, Kash Patel. Kash, right.


                   Donald Trump     00:02:02-00:02:30 (28 sec)                                                                         NO SIGNAL (0.003)
            
                   A man that I'm very proud of. I've known him and Emil for a long time under tremendous pressure. I saw these guys under
                   some of the most corrupt judges I've -- it's not even imaginable how corrupt they were. And these guys never wilted, they never
                   -- they were not shy, they fought, they weren't afraid, and they were brilliant.


                   Donald Trump     00:02:30-00:03:01 (31 sec)                                                                              WEAK (1.309)
            
                   Deputy Attorney General, Todd Blanch, and Principal Associate Deputy Attorney, Emil Bove. And thank you both very much.
                   Great people. They're great people. The chief of staff who's so highly respected, Chad Mizelle. Thank you, Chad. Chad? Thank
                   you, Chad. Our next administrator of the DEA, Terry Cole. Terry?


                   Donald Trump     00:03:01-00:03:27 (26 sec)                                                                         NO SIGNAL (0.552)
            
                   Thank you, Terry. Good luck, you're going to do great. Senior Counsel to the Assistant Attorney General for Civil Rights. Boy, I've
                   been watching him on television the last couple of weeks. He is really a tough one and he's a great one. Leo Terrell, you watch

                   how good he's going to be. He's going to be so good.


                   Donald Trump     00:03:27-00:03:59 (32 sec)                                                                         NO SIGNAL (0.745)
            
                   Thank you, Leo. Great guy. Assistant Attorney General of the Antitrust Division, who's got an incredible reputation. She'll do

                   very, very well. Gail Slater. Thank you, Gail. Good luck. Great job. And we're joined by many, many great friends and terrific
                   friends and I won't be able to -- too many to name, but some that I just see very quickly.


                   Donald Trump     00:03:59-00:04:22 (22 sec)                                                                         NO SIGNAL (0.361)
            
                   General Flynn, thank you for being here. Here's a man who went through hell, by the way, and he shouldn't have. It was -- he's a
                   patriot, he went through hell. We're also pleased to be joined by Senator Chuck Grassley and House Majority Whip. Hi, Chuck.
                   House Majority Whip, Tom Emmer. Tom, great job you're doing.


                   Donald Trump     00:04:22-00:04:50 (28 sec)                                                                         NO SIGNAL (0.619)
            
                   Representative Guy Reschenthaler, one of the toughest names to say but I got it perfectly I think. And state Attorney General,
                   Ken Paxton, thank you very much. Thank you very much. Somebody who was with us early on and she's really become a big star

                   and very popular, Brenna Bird. Thank you, Brenna. Thank you very much.


                   Donald Trump     00:04:50-00:05:20 (30 sec)                                                                          NO SIGNAL (0.29)
            
                   Steve Marshall, Alan Wilson, James Uthmeier, Chris Carr, Dave Sunday, Marty Jackley, as well as White House Deputy Chief of

                   Staff, Stephen Miller. What a man Stephen is, become a big star, right? Steve Miller. Steve has been something very special. For
                   generations, the federal Department of Justice was one of America's most revered institutions.


                   Donald Trump     00:05:20-00:05:48 (28 sec)                                                                          NO SIGNAL (0.55)
            
                   The men and women of the DOJ brought down the Mafia, hunted down the killers, kingpins and spies, tracked down terrorists
                   and traitors and tore down corrupt political machines all across America. This department commanded the respect and                     X

                   admiration of the entire world. And with Pam and Kash and all of the people I introduced and far more, big numbers and all of
                   you sitting back there, I recognize so many of you.


                   Donald Trump     00:05:48-00:06:06 (18 sec)                                                                         NO SIGNAL (0.824)
            

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                   But with you leading the way, it will soon be the most admired and most respected of all. You're going to be more respected,
                   and I really believe that there's also a lot of things to solve, a lot of problems to solve, but that's going to put you in the upper
                   tier and maybe the top tier. And I believe that's going to happen.


                   Donald Trump    00:06:06-00:06:36 (30 sec)                                                                            NO SIGNAL (0.553)
            
                   So proud of the people in this room. But first we must be honest about the lies and abuses that have occurred within these
                   walls. Unfortunately, in recent years, a corrupt group of hacks and radicals within the ranks of the American government

                   obliterated the trust and goodwill built up over generations. They weaponized the vast powers of our intelligence and law
                   enforcement agencies to try and thwart the will of the American people.


                   Donald Trump    00:06:36-00:07:00 (25 sec)                                                                                 WEAK (1.099)
            
                   You remember the 51 intelligence agents that said, as an example, that Hunter Biden's laptop from hell came from Russia, when
                   they knew it came right from his bedroom. They knew that; it was a big lie, and they knew it so well. They spied on my
                   campaign, launched one hoax and disinformation operation after another, broke the law on a colossal scale.


                   Donald Trump    00:07:00-00:07:25 (25 sec)                                                                              NO SIGNAL (0.31)
            
                   Persecuted my family, staff and supporters, raided my home Mar-A-Lago and did everything within their power to prevent me
                   from becoming the president of the United States. With the help of radicals like Marc Elias, Mark Pomerantz and these are
                   people that nobody's ever seen anything like it. And so many others.


                   Donald Trump    00:07:25-00:07:59 (34 sec)                                                                                 WEAK (1.238)
            
                   But these are people that are bad people, really bad people. They tried to turn America into a corrupt communist and third
                   world country. But in the end the thugs failed, and the truth won, freedom won, justice won, democracy won and above all the

                   American people won. There could be no more heinous betrayal of American values than to use the law to terrorize the
                   innocent and reward the wicked, and that's what they were doing at a level that's never been seen before.


                   Donald Trump    00:07:59-00:08:27 (27 sec)                                                                            NO SIGNAL (0.637)
            
                   And it's exactly what you saw with Joe Biden, Merrick Garland and their cronies. To do the building of the last four years they
                   ripped -- what they've ripped down is incalculable, but what you're going to build up is likewise something that will be breaking
                   all sorts of records. They set loose violent criminals while targeting patriotic parents at school board meetings.


                   Donald Trump    00:08:27-00:08:50 (23 sec)                                                                            NO SIGNAL (0.299)
            
                   They dropped charges against Antifa and Hamas supporters while labeling traditional Catholics as domestic terrorists, the
                   Catholics. We did very well with the Catholic vote. So, I want to thank them for that. They imported -- they really did -- record
                   numbers. I would say what's with the Catholics. They're really after the Catholics.


                   Donald Trump    00:08:50-00:09:09 (19 sec)                                                                               MEDIUM (1.577)
            
                   So, I don't know, they were after a lot of people, maybe they didn't even know why. They imported illegal alien murderers, drug

                   dealers and child predators from all over the world to come into our country while putting elderly Christians and pro-life
                   activists on trial for singing hymns and for saying prayers.                                                                               X


                   Donald Trump    00:09:09-00:09:40 (31 sec)                                                                            NO SIGNAL (0.493)
            
                   They went to jail for that. Our predecessors turned this Department of Justice into the Department of Injustice, but I stand
                   before you today to declare that those days are over, and they are never going to come back. They're never coming back. So



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                   now, as the chief law enforcement officer in our country, I will insist upon and demand full and complete accountability for the
                   wrongs and abuses that have occurred.


                   Donald Trump    00:09:40-00:10:05 (26 sec)                                                                            NO SIGNAL (0.268)
            
                   The American people have given us a mandate, a mandate like few people thought possible. We won every single swing state.
                   We won the popular vote by millions and millions of people. We won districts, 2,750. Think of that, 2,750 districts compared to
                   505. So we won at levels that I don't believe ever seen before.


                   Donald Trump    00:10:05-00:10:25 (20 sec)                                                                             NO SIGNAL (0.417)
            
                   That's the one where you see the map of the United States and it's all red. Red for republican, not for communist. Red for
                   Republican. They would like it to turn red for communist, but it didn't work out that way. The American people have given us a

                   mandate and really, just a far-reaching investigation is what they are demanding into the corruption of our system.


                   Donald Trump    00:10:25-00:10:47 (22 sec)                                                                             NO SIGNAL (0.117)
            
                   And that's exactly, I'm sure, what Pam and Kash and everyone else mentioned here and not mentioned is going to be doing. We
                   will expel the rogue actors and corrupt forces from our government. We will expose and very much expose their egregious
                   crimes and severe misconduct of which was levels you've never seen anything like it. It's going to be legendary.


                   Donald Trump    00:10:47-00:11:11 (24 sec)                                                                             NO SIGNAL (0.04)
            
                   It's going to also be legendary for the people that are able to seek it out and bring justice. We will restore the scales of justice in
                   America and we will ensure that such abuses never happen again in our country. And that's why on day one, I signed an
                   executive order banning all government censorship and directing the removal of every bureaucrat who conspired to attack free
                   speech and many other things and values in America.


                   Donald Trump    00:11:11-00:11:39 (29 sec)                                                                               NO STRESSLENS
            
                   My administration stripped the security clearances of the disgraced intelligence agents who lied about Hunter Biden's laptop

                   from hell. We revoked the clearances of deranged Jack Smith, Alvin Bragg, Letitia James and the crooked law firms that aided
                   their partisan prosecutions. And I went through it. These are state and city courts and the corruption is unbelievable.


                   Donald Trump    00:11:39-00:12:09 (30 sec)                                                                            NO SIGNAL (0.459)
            
                   We also terminated the clearances of the Biden crime family and Joe Biden himself. He didn't deserve it. In fact, he was
                   essentially found guilty, but they said he was incompetent and therefore, let's not find him guilty, I guess. Nobody knows what
                   that ruling was, but I didn't want any part of it. I think I would have rather been found guilty than what they found with him.


                   Donald Trump    00:12:09-00:12:43 (34 sec)                                                                            NO SIGNAL (0.926)
            
                   They said he didn't know what the hell he was doing and therefore, let him go. I said, you know, I'd rather be convicted, Pam. I
                   think that -- that was not good. I said, please convict me, don't say that. I pardoned hundreds of political prisoners who had
                   been grossly mistreated. We removed the senior FBI officials who misdirected resources to send SWAT teams after
                   grandmothers and J6 hostages and it was a great honor for me to fire, I will tell you this, a great honor to fire James Comey, a
                   great, great honor.                                                                                                                        X




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                   Donald Trump    00:12:43-00:13:01 (18 sec)                                                                            NO SIGNAL (0.61)
            
                   That was nothing -- that was no better day. A lot of people said, oh, that's too bad you did that. And they said that's going to

                   be -- and you know what, a year later, they said that actually saved the administration because the level of corrupt things that
                   we learned after that turned out to be that they were doing, in fact, really bad things.


                   Donald Trump    00:13:01-00:13:47 (46 sec)                                                                             NO STRESSLENS
            
                   He was a terrible person, did terrible things and persecuted people and all in the guise of being an angel, but he wasn't an
                   angel. We created a brand-new DOJ task force and anti-Christian bias. And under Director Patel, we're getting the FBI agents
                   out of the headquarters in Washington, D.C. and back on the streets in pursuit of dangerous criminals where they belong and
                   where they want to be. And you have that big FBI building, and it's a very big building, and they were going to build an FBI

                   headquarters three hours away in Maryland, a liberal state, but that has no bearing on what I'm about to say.


                   Donald Trump    00:13:47-00:14:14 (27 sec)                                                                                WEAK (1.336)
            
                   But we're going to stop it, not going to let that happen. We're going to build another big FBI building right where it is, which
                   would have been the right place, because the FBI and the DOJ have to be near each other. That's one thing I did learn from this
                   persecution, the FBI and the DOJ work together. Now, in my case, they worked together for bad purposes, but they do, they
                   were always together.


                   Donald Trump    00:14:14-00:14:40 (26 sec)                                                                            NO SIGNAL (0.64)
            
                   So how can you have one that's three hours away? But one thing I said to Kash, well, we're going to get a great building built.
                   It's going to be a magnificent building. He said, sir, we don't need that kind of room. I said, what do you mean? He said I'm just
                   going to take an old Department of Commerce building that's about 25 percent the size and that's what I need.


                   Donald Trump    00:14:40-00:15:03 (23 sec)                                                                                WEAK (1.083)
            
                   We're going to have the best staff that you've ever seen and that's what I need. It's in a nice location, but I don't need that big

                   building. Why don't you just sell the site to somebody? And we're going to be very happy and they want to have far fewer
                   people, but we also want to have them in D.C. And if for no other reason, we like having law enforcement walking the streets of
                   our capital.


                   Donald Trump    00:15:03-00:15:25 (23 sec)                                                                                 WEAK (1.29)
            
                   Because when the bad guys are out there and they see there's an FBI agent, that's the ultimate in law enforcement and they're
                   not going to be acting so bad. We're cleaning up our city. We're cleaning up this great capital and we're not going to have
                   crime and we're not going to stand for crime. And we're going to take the graffiti down and we're already taking the tents down
                   and we're working with the administration.


                   Donald Trump    00:15:25-00:15:45 (20 sec)                                                                           NO SIGNAL (0.662)
            
                   And if the administration can't do the job, we're to have to take it back and run it through the federal government. But we hope
                   the administration is going to be able. So far, they've been doing very well. The mayor has been doing a good job. We said,
                   there are tents galore right opposite the State Department, they have to come down and they took them down right away.
                                                                                                                                                            X

                   Donald Trump    00:15:45-00:16:12 (27 sec)                                                                                WEAK (1.376)
            
                   And so, so far so good, but we want to have a capital that can be the talk of the world. When Prime Minister Modi of India,
                   when the president of France and all of these people, the head of Prime Minister of United Kingdom, they all came to see me
                   over the last week and a half. And when they come in, I had the route run, I didn't want to have them see tents.



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                   Donald Trump     00:16:12-00:16:31 (19 sec)                                                                                  WEAK (1.19)
            
                   I didn't want to have them see graffiti. I didn't want to have them see broken barriers and potholes in the roads. And we had it
                   looking beautiful and we're going to do that for the city and we're going to have a crime free capital. When people come here,
                   they're not going to be mugged or shot or raped. They're going to have a crime free capital again.


                   Donald Trump     00:16:31-00:16:47 (16 sec)                                                                            NO SIGNAL (0.326)
            
                   It's going to be cleaner and better and safer than it ever was and it's not going to take us too long. There's a new phenomenon
                   that is taking place with these violent, vicious lawyers that we have all over. They play the ref, you know what playing the ref is,
                   like the great Bobby Knight basketball coach.


                   Donald Trump     00:16:47-00:17:11 (23 sec)                                                                             NO SIGNAL (0.18)
            
                   He'd scream and scream at the ref. He'd scream. By the way, I love Bobby Knight because he endorsed me and having Bobby
                   Knight's endorsement in Indiana was an extremely good thing. A friend of mine said I was running in Indiana at the time. This
                   was early on 2016 and I was doing great, but friend came up and said, do you know Bobby Knight?


                   Donald Trump     00:17:11-00:17:30 (19 sec)                                                                                 WEAK (1.209)
            
                   I said, no, I don't, but I hear he was a tough cookie. Not only tough, he was beyond tough, but he's the most popular guy. You
                   can imagine. It turned out, he wanted to endorse me. He called me about two years before. He said, sir, I'd like to endorse you. I
                   said, is this really Bobby Knight? He said, it's me. I could tell it was Bobby Knight.


                   Donald Trump     00:17:30-00:17:50 (20 sec)                                                                            NO SIGNAL (0.872)
            
                   He had been known for throwing the chair across the court and slapping a player. Can't do things like that, right? And the man
                   that came in fired him. He was a new administrator for the college. That guy didn't last very long. They were like 14 and zero
                   and they fired Coach Knight. That was not good, but he had a little chip on his shoulder.


                   Donald Trump     00:17:50-00:18:12 (22 sec)                                                                                 WEAK (1.129)
            
                   But he loved Trump and he came in and he said, I'd love to endorse you. He said, if you ever run, please call me. So he said, do
                   you know Bobby Knight? I said, well, I don't know him, but he called me a couple of years ago. It was an amazing phenomenon.
                   I took his number. And on each side of my desk in New York, I had stacks of paper, like nice and neat but about two feet high
                   each.


                   Donald Trump     00:18:12-00:18:33 (21 sec)                                                                            NO SIGNAL (0.049)
            
                   And I said, I wrote his number down and I put it here two years ago and I said, let me see if I can find it. It was almost like a
                   miracle. I had other miracles that happened too. My ear is still throbbing. That was a miracle. That was a miracle also, wasn't it.
                   That was a miracle also. How are you? Thank you.


                   Donald Trump     00:18:33-00:19:05 (32 sec)                                                                            NO SIGNAL (0.778)
            
                   Thank you, Leo. Thank you. Thank you, my man. That was a miracle. Anyway. OK. That's very nice. Thank you. But so he said,
                   Bobby Knight. So I said, I put his name down and I wrote it down, it's in one of these stacks, let me -- I lift it up, it would have to
                                                                                                                                                              X
                   be 2,000 or 3,000 pages in each stack. I lifted it up, the first one, had no idea.


                   Donald Trump     00:19:05-00:19:26 (21 sec)                                                                                 WEAK (1.117)
            
                   And there was his name on a little card, Bobby Knight, with his number. It was like incredible. I tell that story all the time. And I
                   called him and dialed the number. He said, I've been waiting for you to call. And he went out and he made a speech for me in a


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                   packed arena in Indiana and it was over. It was over.


                   Donald Trump    00:19:26-00:19:46 (20 sec)                                                                             NO SIGNAL (0.33)
            
                   He was a tough guy. He actually went a little far. If you remember, he made a great speech because he was actually a
                   motivational type guy, to put it mildly. But he left the stage and then I'm talking and he walks back onto the stage. I said, uh-oh,
                   this is trouble. Why is he coming back? He was a big guy too.


                   Donald Trump    00:19:46-00:20:05 (20 sec)                                                                            NO SIGNAL (0.158)
            
                   Why is he coming back? He said, may I say a few more words, I said, yeah, go ahead, Bobby, say a few more words, a little

                   different. And he said and let me tell you something about this guy, Trump. This guy is -- he has to -- will use the nuclear
                   weapons that we have. He will use the -- he has no fear, he's going to use -- and that's the kind of guy, and he walked off the
                   stage.


                   Donald Trump    00:20:05-00:20:38 (33 sec)                                                                            NO SIGNAL (0.417)
            
                   I said, I think I'm in big trouble, Pam. That was not good, but it worked out OK. In the meantime, we won the state in a landslide,
                   and it was great. And it was just an amazing period of time. But this is the most amazing period of time. I think this is more
                   amazing. What's taking place is more amazing. I think it's more consequential and, if we do the job -- one of the big media
                   outlets said what we did was the most consequential election in the last 129 years.


                   Donald Trump    00:20:38-00:21:06 (28 sec)                                                                            NO SIGNAL (0.386)
            
                   Well, if we do the job that we're all capable of doing, I think it's going to be -- it's going to prove to be that and then some, and
                   that's what we want to do. We have a real big shot at making this country so great, so great. What happened to our country was
                   so sad. What they've done in four years to our country with the borders with Afghanistan, the embarrassing -- most

                   embarrassing period of time, allowing the Russian situation.


                   Donald Trump    00:21:06-00:21:24 (18 sec)                                                                                 WEAK (1.369)
            
                   It was never going to happen with Ukraine. Allowing October 7th to happen, would have never happened because under me
                   Iran was totally broke. They had no money. They weren't given any money to Hamas or Hezbollah. It was totally broke, but
                   allowing inflation, look at what inflation has done to people, been so devastating.


                   Donald Trump    00:21:24-00:21:44 (20 sec)                                                                            NO SIGNAL (0.382)
            
                   And now you see that, by the way, the price of eggs is down 35 percent in the last week and a half. We're doing a good job.
                   Brooke is doing a good job, Brooke Rollins and everybody. And inflation is down, interest rates are down. Gasoline has come
                   down, down to a level that we haven't seen in a long time.


                   Donald Trump    00:21:44-00:22:04 (20 sec)                                                                            NO SIGNAL (0.487)
            
                   All things that we wanted to do because then everything else is going to be coming down. We want it to come down. We want
                   bacon to come down and groceries, a term I used to use, it's sort of an old-fashioned term, but I used to use it on the campaign
                   trail, those last 90 perfect, beautiful days. We just hit it. And I want to thank Suzy, you have done a great job, Suzy Wiles.
                                                                                                                                                             X




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                   Donald Trump     00:22:04-00:22:34 (30 sec)                                                                               NO SIGNAL (0.454)
            
                   Great job, Suzy. A big magazine just named her the most powerful woman in the world and that's okay with me. She is the most
                   powerful woman if you think about it, John, right? The most powerful woman in the world, but she's great. And we had a great
                   90 days. It was a perfect 90 days, and it was a great result, but we want to put that result to good use by doing a phenomenal
                   job.


                   Donald Trump     00:22:34-00:23:04 (30 sec)                                                                                       WEAK (1.338)
            
                   And I want to tell you that Todd and Emil know this very well. We had an amazing judge in Florida, and her name is Aileen
                   Cannon, and I didn't know her. I still don't know her. I don't believe I ever spoke to her, even during the trial. But I did appoint
                   her federal judge. And these fake lawyers, these horrible human beings were hitting her so hard public relations wise.


                   Donald Trump     00:23:04-00:23:31 (28 sec)                                                                               NO SIGNAL (0.802)
            
                   They were playing the ref. I don't think it's legal. I don't think it's legal, they might as well go out and just shout it in a
                   courthouse. They were saying she was slow; she wasn't smart. She was totally biased. She loved Trump. I didn't know her other
                   than I saw her the couple of days that I was in court, and I thought her decorum was amazing.


                   Donald Trump     00:23:31-00:23:54 (22 sec)                                                                                 NO SIGNAL (0.3)
            
                   Anything bad they could say though, they were saying about her. It was -- whatever they could say bad about a human being,
                   all made up because actually she was brilliant, she moved quickly. She was the absolute model of what a judge should be and
                   she was strong and tough. And how do you get them to stop if you're a judge?


                   Donald Trump     00:23:54-00:24:11 (18 sec)                                                                                NO SIGNAL (0.58)
            
                   How do you get them to stop with the playing the ref? Bobby Knight would play the ref. That's why I brought up the Bobby
                   Knight story. He would play the ref. He'd scream at the ref. He'd scream so hard, oh boy, it was terrible actually. And the people
                   would come up, his assistant coaches would come up, the players.


                   Donald Trump     00:24:11-00:24:28 (17 sec)                                                                               NO SIGNAL (0.312)
            
                   Coach, coach, don't do that. Don't do it. He said he's not going to change his tune, coach. He called it. He's not changing. I
                   don't care and he's screaming. That's when he threw the chair, he starts going crazy. And he said, no, he's not going to change
                   this time, but he's going to change for the next play.


                   Donald Trump     00:24:28-00:24:49 (21 sec)                                                                               NO SIGNAL (0.351)
            
                   And sure as hell he did. Bobby, by the way, had the last undefeated team in basketball and, relatively speaking, he had a team,
                   he always had a team. He never had that. He had a couple of great players, obviously, some top NBA players. But very few
                   relatively, he had a team, but he had -- he won the national championship three times, but he had the last undefeated team in
                   basketball.


                   Donald Trump     00:24:49-00:25:11 (22 sec)                                                                               NO SIGNAL (0.615)
            
                   And he would play the ref, and he would scream at him. He knew exactly what he was doing. They're doing the same thing.
                                                                                                                                                                    X
                   They said, no, he's not going to change now, but he's going to change for the next one. That's what he wanted to do. He
                   wanted to scare the hell -- they wanted to scare the hell out of the judges, and they do it. And how do you stop it if you're a
                   judge because you want to go home, you have a family, you have children.


                   Donald Trump     00:25:11-00:25:37 (25 sec)                                                                               NO SIGNAL (0.898)
            

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                   And the New York Times will write whatever these people say, and the Washington Post, and the Wall Street Journal, and
                   MSDNC and the fake news, CNN and ABC, CBS and NBC, and they'll write whatever they say. And what do you do to get rid of
                   it? You convict Trump. All you have to do is be really tough on him and ultimately convict him and they leave you alone.


                   Donald Trump     00:25:37-00:26:09 (32 sec)                                                                               NO SIGNAL (0.262)
            
                   It's totally illegal what they do. I just hope you can all watch for it, but it's totally illegal. And it was so unfair what they were
                   doing to her, but they do it all the time with judges. But in her case, she was very courageous, and it only made her angry.
                   Wouldn't you say, it just made her angry? She didn't like it. A lot of them say, oh, please don't say that about me. My family,
                   what's my husband going to say, what's my wife going to say or my kids, please don't say that.


                   Donald Trump     00:26:09-00:26:38 (29 sec)                                                                               NO SIGNAL (0.898)
            
                   And it had absolutely no impact on her. And the case against me, which was a case -- I will not use a bad word. I promised my
                   wife, I would never use a bad word. So just a little bad, the case against me was bullshit and she correctly dismissed it. She
                   correctly -- look at Emil, he's looking, he said that's interesting.


                   Donald Trump     00:26:38-00:26:58 (20 sec)                                                                                    WEAK (1.449)
            
                   But these two guys were warriors. You've got a warrior here; you've got two warriors. I can tell you that. You've got a whole
                   bunch of them. But -- and they wouldn't quit. They wouldn't take no for an answer. They just wouldn't quit -- these two people
                   right up here and some others that are involved with it indirectly.


                   Donald Trump     00:26:58-00:27:19 (21 sec)                                                                               NO SIGNAL (0.867)
            
                   And what the lawyers do is they're doing it to the Supreme Court justices hoping that they'll be overcome by the horrible things
                   they say about them. They say things about Supreme Court justices and judges that are just horrible. They're playing the
                   referee. Remember the way they treated Justice Thomas and Justice Alito and Justice Kavanaugh, Justice Gorsuch.


                   Donald Trump     00:27:19-00:27:43 (25 sec)                                                                                     WEAK (1.114)
            
                   Chief Justice Roberts gets treated unbelievably badly and they're hoping that they can sway them to go along because, again,
                   what do they do? They're humans like any -- it would be wonderful if everybody was just a perfect computer machine. But
                   they're not -- they're humans and they don't want to be accused of many, many things including gross incompetence.


                   Donald Trump     00:27:43-00:28:07 (23 sec)                                                                                     WEAK (1.187)
            
                   They don't like it and they don't want it. There's not much they can do about it. They're in a position; they can't really fight back
                   really very well. And so, what they do is sometimes they get weak. I would say a majority maybe of the time, that's why I'm so
                   impressed with Judge Cannon in Florida, how strong she was, how she held up. It actually made her more resolute than
                   anything I've seen.


                   Donald Trump     00:28:07-00:28:29 (22 sec)                                                                                NO SIGNAL (0.711)
            
                   I mean it was amazing because they were hitting her so hard. It was so sad to watch this, but it's sad what they do to other
                   judges. It's very sad what they do to the Supreme Court. And all of -- a lot of the judges that I had, if you look at them, they
                   take tremendous abuse in The New York Times and The Washington Post, all of the different networks.                                            X




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                   Donald Trump     00:28:29-00:28:54 (24 sec)                                                                               NO SIGNAL (0.451)
            
                   They take such abuse. And honestly, they're -- very simply, they're afraid of bad publicity. They don't want bad publicity and it's
                   truly interference in my opinion. And it should be illegal, and it probably is illegal in some form. There's no difference than
                   speaking to a judge or shouting to a judge or doing whatever you have to do in a courthouse.


                   Donald Trump     00:28:54-00:29:12 (19 sec)                                                                               NO SIGNAL (0.883)
            
                   They're doing it behind the back. They're usually doing it anonymously. They're saying anonymously, off the record, the judge is
                   no good, but everybody knows where it's coming from. And it's totally coordinated. It's a campaign and it's by the same scum
                   that you have been dealing with for years like guys like Andrew Weissman, deranged Jack Smith.


                   Donald Trump     00:29:12-00:29:33 (20 sec)                                                                               NO SIGNAL (0.218)
            
                   There's a guy named Norm Eisen, I don't even know what he looks like. His name is Norm Eisen of CREW. He's been after me for
                   nine years now. CREW is a charitable organization. And the reason I'm saying this, Todd, is I'm only going to get one chance to
                   say this, but these are bad people. I don't know who he is. I don't know what he looks like.


                   Donald Trump     00:29:33-00:29:56 (24 sec)                                                                               NO SIGNAL (0.622)
            
                   But everything I read is Norm Eisen of CREW, and CREW is a charitable organization and that's a political thing. His soul life is to
                   get Donald Trump and he's been vicious and violent and he's trying -- and he probably had pretty good success over the years.
                   But with me, how did he do? I think I'm president.


                   Donald Trump     00:29:56-00:30:19 (23 sec)                                                                               NO SIGNAL (0.975)
            
                   Am I here because I'm president? But we had to take all of that abuse. Even during the trials, we had to take tremendous abuse,

                   like, these wonderful guys. They're not legitimate people there. They're horrible people. They're scum and you have to know
                   that. And you're going to have these cases where you can't allow yourselves to be deflected.


                   Donald Trump     00:30:19-00:30:44 (24 sec)                                                                               NO SIGNAL (0.832)
            
                   You just can't let it happen. You have such a higher calling and I believe that CNN and MSDNC, who literally write 97.6 percent
                   bad about me or political arms of the democrat party, and in my opinion, they're really corrupt and they're illegal. What they do
                   is illegal. It makes no difference how big a victory I had.


                   Donald Trump     00:30:44-00:31:04 (20 sec)                                                                               NO SIGNAL (0.697)
            
                   I can have the biggest victory in history. It makes no difference what kind of a failure the other side has. These people are going
                   to go after me. And I said it during the other night during the big speech on Tuesday night, I said about democrats and I don't
                   like that. I have great respect, by the way, for what Schumer did today.


                   Donald Trump     00:31:04-00:31:27 (23 sec)                                                                                    WEAK (1.021)
            
                   He went out and he said that we're going to have to vote with the republicans because it's the right thing to do. I couldn't

                   believe what I heard, but I think he's going to get some credit for it. I think, let's see what happens tonight with the big vote as
                   it comes. But these networks and these newspapers are really no different than a highly paid political operative and it has to
                                                                                                                                                                 X
                   stop.


                   Donald Trump     00:31:27-00:31:59 (32 sec)                                                                                    WEAK (1.434)
            
                   It has to be illegal. It's influencing judges and it's really changing law and it just cannot be legal. I don't believe it's legal and
                   they do it in total coordination with each other and everything we do, we're restoring law, restoring order and restoring public


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                   safety in America. That's what we want to do. And we're bringing honor and integrity and accountability back to the highest
                   levels of the FBI, DOJ and throughout our government.


                   Donald Trump     00:31:59-00:32:21 (22 sec)                                                                                  WEAK (1.403)
            
                   We're bringing our country back faster than anyone ever thought possible. We're working so hard at doing it and we want

                   fairness in the courts. The courts are a big factor. The elections, which were totally rigged, are a big factor. We have to have
                   honest elections. We have to have borders and we have to have courts and law that's fair, or we're not going to have a country.


                   Donald Trump     00:32:21-00:32:44 (23 sec)                                                                                  WEAK (1.375)
            
                   Crooked Joe Biden got us into a real mess with Russia and everything else he did, frankly, but he didn't know about it and he,

                   generally speaking, signed it with a pen. So how would he know? That auto pen is a big deal. I don't know. They're having,
                   who's doing this? So when my people come up, Will and all of the people, Steve, they come up, and sir, this is an executive

                   order.


                   Donald Trump     00:32:44-00:33:04 (20 sec)                                                                             NO SIGNAL (0.994)
            
                   They explain it to me and 90 percent of the time I sign it. 99 percent of the time, I say do it. But they come up and I sign it, but
                   you don't use auto pen. Number one, it's disrespectful to the office. Number two, maybe it's not even valid because who's

                   getting him to sign? He had no idea what the hell he was doing.


                   Donald Trump     00:33:04-00:33:27 (23 sec)                                                                                  WEAK (1.283)
            
                   If he did, all of these bad things wouldn't be happening right now. But we're going to get you back into a great position and

                   we've already started. They say that we had the most successful first month of presidency. It's not a long time, but it's still a lot.
                   It's like if you're a golfer sinking a three-foot putt on the first hole, gives you confidence to sink something on the second hole.


                   Donald Trump     00:33:27-00:33:51 (23 sec)                                                                              NO SIGNAL (0.82)
            
                   But if you miss that first putt, you don't like to have the putt on the second hole and the third hole. It can be a very bad
                   experience. It's nice to get that first month and now we have more than a month. Now we have a month and a half and it's

                   going really, really well. I can tell you a little secret, although the cameras are blazing back there, so it's not that much, but I

                   think we're doing well, as you have been hearing about Ukraine.


                   Donald Trump     00:33:51-00:34:16 (25 sec)                                                                             NO SIGNAL (0.959)
            
                   I think we're doing now well with Russia. We're speaking with President Putin. We want to get the war over. Not only have we

                   spent maybe $350 billion to Europe's -- think of that, $350 billion to $100 billion and yet we're across the ocean far away. So it
                   shouldn't have been that way, but Biden let that happen too and we're getting a deal where we're going to get that back.


                   Donald Trump     00:34:16-00:34:48 (32 sec)                                                                             NO SIGNAL (0.693)
            
                   But much more importantly, are the lives that we're talking about. On average, 2,000 young people are being killed every single
                   day. Now, they're not from here. They're from nowhere close to here, but they're young people. They're human beings and they

                   have parents. They have sisters and brothers, the mothers and fathers, the friends and the families and the towns where they
                   grew up and they're losing on average 2,000, even 2,500 a week.                                                                             X


                   Donald Trump     00:34:48-00:35:21 (33 sec)                                                                             NO SIGNAL (0.995)
            
                   And I want to get it stopped. And we've had some very good calls today with Russia and with Ukraine. They've agreed for a

                   ceasefire if we can get it with Russia. And it's not easy. It's a tough one, but I think we're doing it. And as the secretary general



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                   said yesterday of NATO, a terrific guy, he said without Trump, we wouldn't be talking about it. It would just go on for years, and

                   millions more people, millions of people have been killed, but millions more people would be killed.


                   Donald Trump     00:35:21-00:35:46 (25 sec)                                                                             NO SIGNAL (0.776)
            
                   And he said it was a great honor. Without me, it would just keep going on. We're looking for the ceasefire now with Russia and
                   we've had some very good talks about it. We've had some very good responses. And I can tell you that there was a case where

                   there would have been no war if I were president, and it's just 100 percent would not have happened, would never have
                   happened.


                   Donald Trump     00:35:46-00:36:07 (21 sec)                                                                             NO SIGNAL (0.767)
            
                   I speak to President Putin a lot about it. I said, don't do it, don't do it. I won't tell you what the consequence was. I won't tell you
                   what he -- but if he believed even 5 % of what I said then he would say I'm not going to do it and I think he did. But we had a

                   good relationship and we had a professional relationship and he has respect for this country.


                   Donald Trump     00:36:07-00:36:32 (25 sec)                                                                             NO SIGNAL (0.945)
            
                   And I think we've had some very good results. So I haven't been able to say that to anybody else. I haven't wanted to say it until

                   just before I came here, I got some pretty good news. But we have to see what happens. It's still a long way to go. The fighting

                   is unbelievable. Russia has a large group of Ukrainian soldiers as we speak, surrounded and in grave danger.


                   Donald Trump     00:36:32-00:36:53 (21 sec)                                                                           STRONG (2.1)
                                                                                                                                   2 of 154 paragraphs scored.

                   They've been able to surround them. They're in grave danger. Biden should have never let this war happen. First of all, you don't
                   want to pick on somebody that's a lot larger than you, even with the money. There's a lot of money that we gave them and a lot

                   of equipment. We make the best military equipment in the world, but even with all of that, it's unbelievable.


                   Donald Trump     00:36:53-00:37:12 (19 sec)                                                                              NO SIGNAL (0.14)
            
                   Right now, you have a lot of Ukrainian soldiers that are encircled and in grave danger and I've asked them not to kill those
                   soldiers, please, not to kill those soldiers. We don't want them killed. It's such a shame to see what's happened. A thing like that

                   would have never happened. Inflation would have never happened.


                   Donald Trump     00:37:12-00:37:37 (26 sec)                                                                                   WEAK (1.086)
            
                   October 7th would have never happened, Israel. Iran had no money. They were totally broke. Think of it. They had no money to

                   give to anybody. They were totally broke. And within a short period of time, as soon as Biden came in, he took out all the
                   sanctions in China and everybody else that wasn't buying oil from Iran was buying it at levels that they never spent before.


                   Donald Trump     00:37:37-00:37:54 (17 sec)                                                                                MEDIUM (1.673)
            
                   And it was a sad thing. And if you look at Afghanistan, that was probably what got Putin started because when he looked at
                   how horribly we looked, I think the most embarrassing day, not that we got out because we were getting out. I would have

                   been out faster than them. I was the one that got it down to the right level.

                                                                                                                                                                  X
                   Donald Trump     00:37:54-00:38:16 (21 sec)                                                                                   WEAK (1.274)
            
                   But we would have kept Bagram, the big Air Force base. We would have kept it. Right now, China occupies Bagram and the
                   reason we would have kept it is because they were one hour away from where China has and builds its nuclear missiles and

                   weapons. And they gave that up at the dark of night. They left the lights on and they left the dogs behind, by the way.




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                   Donald Trump     00:38:16-00:38:36 (20 sec)                                                                                  WEAK (1.152)
            
                   A lot of people say what about all the dogs? They had a lot of dogs and they left the dogs behind. And what a shame, what a
                   shame. The way we got out I think was the most humiliating time in the history of our country, the way it happened. Not that

                   we were getting out because we wanted to get out, but we would have gotten out with dignity and strength.


                   Donald Trump     00:38:36-00:38:57 (21 sec)                                                                            NO SIGNAL (0.767)
            
                   And what a difference a rigged and crooked election had on our country when you think about it, and the people who did this

                   to us should go to jail. They should go to jail. So I just want to say, God bless America because we have to say, God bless. We're

                   lucky we're still here, frankly, and this whole thing could lead, I think.


                   Donald Trump     00:38:57-00:39:26 (28 sec)                                                                               MEDIUM (1.903)
            
                   I think we have it, I think we have it, but this could lead to World War III very easily. It could very easily lead to World War three,

                   but I think we're in pretty good shape, a lot better than we were before we got involved. That I can tell you. That was heading
                   into World War III territory and that would have been a war like no other because of nuclear weapons and other types of

                   weapons that you don't even want to know about.


                   Donald Trump     00:39:26-00:39:54 (29 sec)                                                                                 WEAK (1.467)
            
                   But as many of you do know well, we're focused on persecuting and these people were really focused on persecuting

                   republicans. The last administration presided over the worst increase in violent crime in our country in many, many decades. We
                   had levels of violence and crime and a lot of it had to do with the illegal immigrants that came in. Remember when I used to

                   complain about it, because I knew how tough they were, how mean they were.


                   Donald Trump     00:39:54-00:40:13 (18 sec)                                                                            NO SIGNAL (0.822)
            
                   And they said no, no people that come into our country are all wonderful people. No, they're not wonderful. These are stone
                   cold killers. These are killers like -- they make our killers look nice by comparison. They make our killers look nice. These are

                   rough tough people with the tattoos all over their face.


                   Donald Trump     00:40:13-00:40:39 (26 sec)                                                                                  WEAK (1.318)
            
                   Historically speaking, I don't want to discriminate against anybody but historically speaking they're not going to be the head of

                   any major bank that we know of. These are rough people. These are rough, rough killer people and they allowed them in by the
                   millions. In major cities like New York, Chicago and Washington, mothers can't walk their children to the park without fear of

                   being shot or killed or raped or anything.


                   Donald Trump     00:40:39-00:41:03 (24 sec)                                                                            NO SIGNAL (0.776)
            
                   Women can't ride the subway without worrying that a hoodlum will shove them onto the train tracks. In New York, it's

                   happened twice in the last couple of weeks. They're standing there, a perfect Wall Street gentleman in one case, and another
                   person who was a worker, good worker, an electrician -- gets pushed into a train going 45 miles an hour just prior to the train.


                   Donald Trump     00:41:03-00:41:25 (21 sec)                                                                             NO SIGNAL (0.631)
                                                                                                                                                              X
                   Not stopping, going to go through that. I know the stations very well. I used to take the subway. It used to feel safe. When I was

                   young, I'd go to -- my parents would drop me off at the subway, I'd take the subway to my school. Can you believe it? Today
                   they wouldn't be doing that. And we want to back -- we want to get a country back maybe where you can do that again, Pam.

                   But it's so sad to see what's taking place.




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                   Donald Trump    00:41:25-00:41:57 (32 sec)                                                                            NO SIGNAL (0.449)
            
                   Under the Biden regime, average monthly homicides increased by 14 percent, property crime rose tremendously, violent crime
                   went up at least 37 percent that they know of. Rape soared by 42 percent, car thefts rose by 48 percent, and robberies surged

                   to 63 percent to 100 percent, they don't even know what the number is. And I have no higher mission as president of the
                   United States than to end this killing and stop this lawbreaking and to making America safe again.


                   Donald Trump    00:41:57-00:42:22 (25 sec)                                                                            NO SIGNAL (0.874)
            
                   And that's what you're all about in this room. We want to protect Americans, and we protect everybody that's in our country,
                   American or not American. We want to have a safe and proud country. We're joined today by dozens of police officers, sheriffs

                   and sheriff's deputies from all across the country. My message to these law enforcement heroes is simple -- with me in the

                   White House, you once again have a president who will always have your back.


                   Donald Trump    00:42:22-00:42:58 (36 sec)                                                                                 WEAK (1.229)
            
                   We'll always have your back. Thank you, fellas. Thank you. That's a lot of good-looking people. I will tell you, I feel safe. I'm glad

                   you're in the room. I feel even safer. It's a lot of great people. On day one I signed an executive order directing attorney general
                   to ensure that anyone who murders a police officer, immediately with as fast a trial as we can have, gets the death penalty.


                   Donald Trump    00:42:58-00:43:39 (41 sec)                                                                             NO SIGNAL (0.016)
            
                   And last month I fired all the radical left pro-crime US attorneys appointed by Joe Biden. There were so many that were bad,
                   and I know there were some that were probably very good, but there were so many that were so bad and so evil, so corrupt.

                   Instead of having Marxist prosecutors who want to put police officers in handcuffs and go after a police officer rather than a
                   criminal, I appointed patriotic tough-on-crime warriors who will partner with police to put dangerous offenders behind bars, put

                   them in jail.


                   Donald Trump    00:43:39-00:43:59 (20 sec)                                                                                 WEAK (1.467)
            
                   We're fully reviving 1033 program to provide state and local law enforcement with surplus military equipment, that we have so
                   much of it. I did it in my last administration and I remember Obama wouldn't do it. He wouldn't do it before me -- would not do

                   it because he thought it made them look too strong, too military.


                   Donald Trump    00:43:59-00:44:17 (18 sec)                                                                                  WEAK (1.019)
            
                   I said no, that's what I want them to look like. I want them to look strong. And it was protective defensive equipment. We had

                   billions of dollars. I gave it out and now I'm going to have a chance to give it out again. They didn't want to do it with Biden and
                   Biden didn't know why. I didn't -- if they would have asked him, he wouldn't have been able to answer the question.


                   Donald Trump    00:44:17-00:44:35 (19 sec)                                                                            NO SIGNAL (0.052)
            
                   He could never answer a question. They said my press conference yesterday was longer than all of Biden's press conferences
                   put together for the last four years. And I don't know if that's true, but it was close. And perhaps most importantly, we're

                   securing our border and repelling the invasion of America.


                   Donald Trump    00:44:35-00:44:55 (20 sec)                                                                                                 X
                                                                                                                                         NO SIGNAL (0.732)
            
                   We have -- you see the numbers have come down so -- and Tom Homan and Kristi were -- have been incredible, Kristi Noem,

                   as secretary she's done great, and Tom Homan is -- I don't know if Tom Homan is here. But wherever he may be, I think he's

                   chasing people out of our country. If he was here, I'd almost be disappointed.




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                   Donald Trump      00:44:55-00:45:16 (21 sec)                                                                        NO SIGNAL (0.767)
            
                   What are you doing, Tom? But he's a fantastic guy and he's a brave guy. Over the past four years, other countries emptied out
                   their prisons and jails, mental institutions and insane asylums and sent the killers, drug smugglers and bloodthirsty inmates

                   from the filthiest dungeons of the world straight into the USA, an open border.


                   Donald Trump      00:45:16-00:45:32 (17 sec)                                                                             WEAK (1.489)
            
                   We had an open border policy. Anybody could come in, no matter what you were, no matter where you came from, no matter

                   what you looked like, no matter what you were doing, no matter what you did, no matter how many people you murdered, you
                   could come right into our country. We have murderers right now walking the streets.


                   Donald Trump      00:45:32-00:45:59 (27 sec)                                                                              WEAK (1.01)
            
                   We're joined today by Tammy Nobles, whose 20-year-old daughter, Kayla, was attacked in her home three years ago, horrifically
                   assaulted and strangled to death by an illegal alien MS-13 monster set loose into our country under the open border Biden

                   regime. Kayla was one of countless American victims ripped away from their families by the open border policies of that

                   administration.


                   Donald Trump      00:45:59-00:46:42 (43 sec)                                                                          NO STRESSLENS
            
                   And we're also joined by Kayla's stepfather, Jeremiah and several other courageous Angel families here today. And I'd love you

                   to all just stand up and take a bow because you are incredible people. Please, thank you. Thank you. Thank you. Thank you very
                   much. Thank you. But I want you to know that we are working every day to expel these savages from our country and ensure

                   that what happened to your loved ones will never happen again.


                   Donald Trump      00:46:42-00:47:00 (18 sec)                                                                             WEAK (1.194)
            
                   So, their legacy is going to be a great one. Thank you all very much, appreciate it. On day one of my administration, I declared a

                   national emergency on our southern border. Our first full month in office we achieved the lowest level of illegal border
                   crossings ever recorded, OK, even lower than four years ago.


                   Donald Trump      00:47:00-00:47:29 (29 sec)                                                                        NO SIGNAL (0.352)
            
                   For years, democrats and the media kept saying that we needed new legislation, we had to have new legislation. We needed it

                   immediately, and I never had legislation, and I had the best border in the history of our country for almost four years. And by
                   the time I got out, we had the lowest numbers ever. My favorite chart of all time was brought down that day, and on that chart

                   said we had the lowest numbers ever.


                   Donald Trump      00:47:29-00:47:57 (27 sec)                                                                          NO STRESSLENS
            
                   But it turned out that we really didn't need new legislation. All you needed was a new president. And I said that -- I said that the

                   other night, that's all you needed was a new president saying close the borders because the Border Patrol is unbelievable, ICE is
                   unbelievable. And all of our law enforcement is just incredible.


                   Donald Trump      00:47:57-00:48:12 (16 sec)                                                                        NO SIGNAL (0.366)
                                                                                                                                                          X
                   All of you guys are amazing, and the people of our country respect you and they love you. And a lot of times you don't hear
                   that because you have to listen to the fake news back there. But they have great respect for you. So, I just want you to know

                   that. And you know that includes our fire departments, too.


                   Donald Trump      00:48:12-00:48:32 (20 sec)                                                                             WEAK (1.029)
            

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                   They don't get spoken about enough. They go into some of the areas, I read where they're shooting them off ladders. Can you

                   believe it? They go up to put out a fire, Leo, and they go and they shoot them off a ladder. It's just unbelievable. These firemen
                   and women are incredible. So, I want to put them in the same category because they're just incredible.


                   Donald Trump     00:48:32-00:48:52 (20 sec)                                                                                   NO SIGNAL (0.51)
            
                   I also like the fact they voted for me like at 94 percent. So, I have to mention them. I have no choice, right? But the truth is
                   they're phenomenal people, the law enforcement, fire, everybody, they're phenomenal. Basically, first responders, because that's

                   what they are. They're first responders. And we're ending the migrant occupation of America.


                   Donald Trump     00:48:52-00:49:08 (16 sec)                                                                                  NO SIGNAL (0.852)
            
                   And what we're doing now is we're liberating our cities and our suburbs, and our towns and you see a big difference. I'm

                   getting calls all the time from even leaders of other countries saying, sir, the whole world feels liberated now. It feels like there's

                   a light over America, but there's a light over the whole world.


                   Donald Trump     00:49:08-00:49:25 (17 sec)                                                                                  NO SIGNAL (0.951)
            
                   I hear that so much. It's so nice to hear too. And I feel it -- I mean, I feel it. I look at -- I see the polls. I don't know if the polls are

                   right, but they're certainly very good. I'll take them right now. It's amazing, amazing what's taken place in such a short period of
                   time, really six weeks, but it's longer than that.


                   Donald Trump     00:49:25-00:49:43 (17 sec)                                                                                       WEAK (1.077)
            
                   It's really November 5th. I think that hopefully will go down. If you do your job great, it'll go down as the most important day --
                   one of them at least in the history of our country. You know, July 4th was pretty -- 1776, It was pretty important, too. But let's

                   see if we can top it. Can we top it? I don't know.


                   Donald Trump     00:49:43-00:50:05 (23 sec)                                                                                  NO SIGNAL (0.808)
            
                   That's a tough one, but we're going to try. But it will be one of the most important days in the history of our country. So, I think

                   -- and I think everybody in this room wants that to happen. Last month, we officially designated MS-13 and Tren de Uruguay.
                   That's the Venezuelan gang, the toughest gang they say in the world and the Mexican drug cartels as foreign terrorist

                   organizations.


                   Donald Trump     00:50:05-00:50:27 (22 sec)                                                                                  NO SIGNAL (0.285)
            
                   That's a big deal. Nobody wanted to do that in the past. And by the way, we've caught hundreds of them, the Venezuelan gang,
                   which is as bad as it gets. And you'll be reading a lot of stories tomorrow about what we've done with them and you'll be very

                   impressed.


                   Donald Trump     00:50:27-00:50:45 (18 sec)                                                                                  NO SIGNAL (0.182)
            
                   And you'll feel a lot safer too, because they are a vicious group. They went into Colorado. They took over areas of Colorado.

                   They sort of were like me. They were in the real estate business, but they didn't go out and get financing. They just took over a
                   building and kept it, and they said to the tenants, get the hell out of here.
                                                                                                                                                                    X
                   Donald Trump     00:50:45-00:51:03 (18 sec)                                                                                  NO SIGNAL (0.669)
            
                   One man called the police and they cut off his fingers and they say, you call again, your other fingers and you call a third time
                   and you're dead. These are tough people and bad people and we're getting them out of our country. And some are so bad, we

                   don't want to get them out. We have to put them in jail because we don't want to even take a chance that they can come back.



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                   Donald Trump      00:51:03-00:51:32 (29 sec)                                                                                   WEAK (1.03)
            
                   Thanks to our efforts, Mexico recently handed over 29 of the biggest cartel leaders, including the depraved kingpin charged

                   with the 1985 murder of DEA agent Kiki Camarena, and that was a big deal. If you know, they've been looking for this person for
                   years, many years and we got them. This evil killer will be now prosecuted to the fullest extent of the law and we know that --

                   well, let's put it this way.


                   Donald Trump      00:51:32-00:51:55 (23 sec)                                                                            NO SIGNAL (0.699)
            
                   I have to be nice. It's a very strong case. We're stopping the criminals pouring across our borders at record levels, and we're also
                   stopping the massive quantities of deadly drugs. In 2023 alone, drug overdoses killed more Americans in 12 months than they

                   did during the entire decade between 1980 and 1990, so 10 times more, but it's much more than that.


                   Donald Trump      00:51:55-00:52:25 (29 sec)                                                                                  WEAK (1.092)
            
                   More Americans died from fentanyl last year than died in the Korean War or the Iraq War, or the Afghanistan war, all of them

                   combined. That's why I've placed large tariffs on Mexico, Canada and China and they will remain in place until these deadly
                   poisons stop pouring into our country. And I will tell you, as soon as I put on the tariffs on Mexico, Canada and China,

                   unbelievable results have been seen in the last few weeks, unbelievable results.


                   Donald Trump      00:52:25-00:52:57 (33 sec)                                                                            NO SIGNAL (0.015)
            
                   They weren't happy about it. You probably read, they weren't happy, but they are working like hell to end it and they weren't

                   working very hard before I did that. With us today is a brave mother and advocate and funder who lost her beautiful 15-year-

                   old son Weston to fentanyl. And Anne, if you would, I'd like to ask you to come up and say a few words, please.


                   Donald Trump      00:52:57-00:53:20 (22 sec)                                                                          STRONG (2.096)
                                                                                                                                   3 of 154 paragraphs scored.

                   Thank you. Thank you. Thank you very much. Thank you, darling. You're going to be great. Let me put that down a little bit.


                   Anne Fundner      00:53:20-00:53:44 (24 sec)                                                                                NO SIGNAL (0)
            
                   Thank you. Well, first I want to say thank you. I think this is the biggest honor of my entire life, being on stage with President

                   Trump. But I want to tell you a little bit about my son Weston, who absolutely loved President Trump. He had a beautiful Trump

                   2020 flag hanging in his bedroom and he had it on the beach one day and we took a picture and it became our 2020 Christmas
                   card, with the most perfect slogan for President Trump, peace on Earth.


                   Anne Fundner      00:53:44-00:54:08 (24 sec)                                                                                NO SIGNAL (0)
            
                   What would happen in the next four years would be devastational [ph] to our country and our safety of our children. And in
                   2022, Weston lost his life, a freshman in high school at the age of 15, from a single pill that took his life. The cartels were

                   allowed to operate on American soil and took hundreds of thousands of American lives.


                   Anne Fundner      00:54:08-00:54:29 (21 sec)                                                                                NO SIGNAL (0)
            
                   And so we knew there was only one person that could save us from the devastation on our American soil and that was

                   President Trump. And so in 2024, we did the best thing that we could do to keep America safe again and we elected President                    X
                   Donald J. Trump. Thank you. Thank you. Thank you. Thank you. Thank you.


                   Anne Fundner      00:54:29-00:55:11 (42 sec)                                                                              NO STRESSLENS
            
                   Thank you, and he's done everything that he has promised. We have a 98 percent decrease in border crossings and he has

                   labeled the cartels terrorist organizations. And he has instilled tariffs because there is no price on human life. And so I feel like I

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                   can speak for the entire fentanyl fighting community when I say thank you to President Trump and thank you to Pam Bondi and
                   everyone out here who is fighting this fight.


                   Anne Fundner    00:55:11-00:55:16 (5 sec)                                                                               NO STRESSLENS
            
                   God bless you. God bless you, President Trump and God bless America. Thank you.


                   Donald Trump    00:55:16-00:55:46 (29 sec)                                                                          STRONG (2.223)
                                                                                                                                 1 of 154 paragraphs scored.

                   Thank you. You did a great job. He's up there, watching you. He's up there watching you and he's so proud of mom.


                   Anne Fundner    00:55:46-00:55:46 ( sec)                                                                                NO STRESSLENS
            
                   Thank you.


                   Donald Trump    00:55:46-00:56:10 (24 sec)                                                                            NO SIGNAL (0.496)
            
                   Thank you, Anne, very much. And Weston is -- I just said to Anne, Weston is up in heaven, watching his mom and he's so proud
                   of you. He's so proud of you. Thank you. We're also joined today by a number of other American families who have lost loved

                   ones to fentanyl. And I'd love you to just stand up for a second and we want to acknowledge you and also your daughters, your
                   sons.


                   Donald Trump    00:56:10-00:56:42 (32 sec)                                                                            NO SIGNAL (0.546)
            
                   They're looking down on you and they're loving you like crazy, so thank you very much. Thank you. Thank you. Thank you. This
                   department will not rest until we have ended the fentanyl epidemic in America once and for all. In less than two months since I

                   took office, the DEA and FBI have seized nearly one million deadly doses of fentanyl and that's just the beginning.


                   Donald Trump    00:56:42-00:57:06 (24 sec)                                                                            NO SIGNAL (0.835)
            
                   At my direction and working with Pam and everybody else, we've launched an all-out war on fentanyl traffickers, and it's a war

                   that we're going to win. We're going to win this war. I spoke with the president of Mexico, very nice woman, very fine woman.
                   And I said, let me ask you, you're sending a lot of drugs into our country.


                   Donald Trump    00:57:06-00:57:27 (21 sec)                                                                            NO SIGNAL (0.967)
            
                   We're not liking it at all, can't do that. But I said, is Mexico, does it have much of a drug? She said no, we're not a consuming

                   nation. I thought it was an interesting term. And I said why? Which I've heard also, by the way, they're not a consuming nation.
                   They distribute, but they don't consume. But I said, why are you not a consumer?


                   Donald Trump    00:57:27-00:57:55 (28 sec)                                                                            NO SIGNAL (0.738)
            
                   Well, we're very close with family. I said, so we're very close with family too. I mean, our families are being devastated and we're
                   just as close. Why else? She said, well, we spend a lot of money on advertising saying how bad drugs are and they're very rough

                   ads. They show the skin falling off and the teeth falling out and going blind and losing hair and everything that these things do
                   that you look like you just came out of a horrible concentration camp.

                                                                                                                                                                X
                   Donald Trump    00:57:55-00:58:23 (27 sec)                                                                            NO SIGNAL (0.298)
            
                   And she said it was their rough adds. And it's not often that I feel I've learned something from a phone call, because I've had a
                   lot of phone calls over my life, but I realized right then and there what a great idea that is. And we have hired Susie, a great

                   person who did a lot of our campaign work and we've come up with an advertising campaign that's, I think, really incredible.




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                   Donald Trump     00:58:23-00:58:43 (21 sec)                                                                              NO SIGNAL (0.487)
            
                   More than anything else, it's terrible to watch. It's terrible to watch. It's the only way it's going to work. And I would be --

                   because we got the numbers down, 18 percent, would have a blue-ribbon committee headed by the First lady of the United
                   States who everyone loves and some of her friends and they work so hard.


                   Donald Trump     00:58:43-00:59:02 (19 sec)                                                                              NO SIGNAL (0.637)
            
                   But it's a tough, it's a tough deal. They're dealing with a very smart and very vicious people. Some of those businesses, those
                   cartels are run better than any business in America. They say they're run incredibly, not just here, they all over the world. They

                   run like a major business, but in many cases, better.


                   Donald Trump     00:59:02-00:59:19 (17 sec)                                                                              NO SIGNAL (0.456)
            
                   And I said, we got it 18 percent down. Well, 18 percent is incredible. It's like a record. But when you think of it, it's not very
                   much. And the way you get it down, if you want to get it down to close to 100 percent is with the death penalty, but I think

                   maybe America is not ready for that. China has the death penalty.


                   Donald Trump     00:59:19-00:59:49 (30 sec)                                                                                   WEAK (1.385)
            
                   Singapore has the death penalty. Various places have the death penalty. Wherever you have the death penalty, you don't have

                   drugs, but I just don't know if this country is ready for it. So I tell people and it's always an option, but I don't know. I just don't
                   know if you're ready for it and that's OK. It's nothing you can do. But what we're going to do is we're doing this campaign and I

                   think we can get it down 50, 5-0 percent with this campaign, because when people see all the horrible things that these drugs
                   do to you and we're especially focused on fentanyl.


                   Donald Trump     00:59:49-01:00:18 (29 sec)                                                                               NO SIGNAL (0.97)
            
                   When they see all of the horrible things that happen when you take drugs, how you look, you lose your look. Everyone's vain.
                   They don't want to lose their look, the look is so important, and I think when they see these things, they may say, you know

                   what, I'm going to take a pass. But there is big danger. Pam and I were talking about it before. A lot of people are taking

                   fentanyl and not even knowing. They think they're doing something else or maybe taking another drug, but at a much lower
                   level, and they die.


                   Donald Trump     01:00:18-01:00:43 (24 sec)                                                                               NO SIGNAL (0.24)
            
                   You can put on the pin -- think of this, the head of a pin, fentanyl, and it's too much and it will kill the strongest person in the
                   room. And it's amazing, but we're going to do this campaign. It's going to be launched fairly soon, Suzy, and I think it's going to

                   have a big impact. I think if we got it down by another 30, 35 points, and I really believe we can.


                   Donald Trump     01:00:43-01:01:04 (21 sec)                                                                                   WEAK (1.167)
            
                   I think that's an incredible idea. So, I thank the president of Mexico actually. It was a call on tariffs, and we talked about drugs.

                   And she gave me an idea that I think will be very successful. And based on what I saw, it's going to be amazing. Under our
                   leadership, this department is once again laser focused on protecting the American people.


                   Donald Trump     01:01:04-01:01:25 (21 sec)                                                                                                  X
                                                                                                                                                   WEAK (1.2)
            
                   We're defending our borders, our streets, our children and our good -- really God given -- this is God given rights and liberties.

                   Once and for all we're going to defend our country and we're going to defend our rights. Etched onto the walls of this building
                   are the words English Philosopher John Locke said, where law ends tyranny begins.




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                   Donald Trump     01:01:25-01:01:49 (24 sec)                                                                                     WEAK (1.026)
            
                   And I see that, and I saw it over the last four years when somebody was allowed to attack viciously, with this department and

                   the FBI, his political opponent. How did that work out? Didn't work out too well, but it wasn't pleasant. It wasn't pleasant. I was
                   attacked by a political opponent and probably it helped that I was attacked more than anybody in the history of our country.


                   Donald Trump     01:01:49-01:02:12 (23 sec)                                                                                     WEAK (1.313)
            
                   Alphonse Capone, the great Alphonse Capone, legendary Scarface, was attacked only a tiny fraction of what Trump was
                   attacked, and maybe it worked out well. I don't know. If I had to give it up, I probably wouldn't, but only because I've gone

                   through it. But I wonder what the difference would be. Maybe they helped get me elected by those margins, the big margins,
                   the big mandate that we received.


                   Donald Trump     01:02:12-01:02:31 (19 sec)                                                                                     WEAK (1.006)
            
                   But you can't go after your political opponent. Nobody's ever seen anything like it actually, and hopefully they won't see

                   anything like it. But now with the return of law and order, the entire world is witnessing the triumph of American justice and
                   American freedom. That's why we're here today gathered with people that have love for our country.


                   Donald Trump     01:02:31-01:03:02 (31 sec)                                                                                NO SIGNAL (0.832)
            
                   In the coming years, we will revive the storied legacy of this department and it's happening right now, I can feel it, and rekindle
                   the spirit of the great lawmen and legal lions of the past, Americans like Wyatt Earp, Eliot Ness, Frank Hamer, Rudy Giuliani --

                   Rudy Giuliani had to suffer greatly, greatly; the greatest mayor in the history of our country had to suffer greatly -- Ed Meese,
                   Antonin Scalia, Robert Jackson and Robert F. Kennedy.


                   Donald Trump     01:03:02-01:03:33 (31 sec)                                                                                     WEAK (1.048)
            
                   We will rebuild pride in our institutions, we will restore the prestige of this great department, and we will bring back faith in our
                   justice system for the citizens of every race, religion, color and creed. And I want to just tell you that this has been a great

                   honor. I was asked to do it, and I said, is it appropriate that I do it? And then I realized it's not only appropriate, I think it's really
                   important and I may never do it again.


                   Donald Trump     01:03:33-01:03:53 (20 sec)                                                                                     WEAK (1.012)
            
                   I may never have another chance to do it again because this is something that I'm leaving to the greatest people I know, the

                   best people, the smartest people, the toughest people I know and they're going to do an incredible job. And it's an honor for
                   me to have won this election so that I could appoint these people to do their job and they're going to do it like you have never

                   seen.


                   Donald Trump     01:03:53-01:04:07 (14 sec)                                                                                 NO SIGNAL (0.21)
            
                   So, I just want to wish all of you good luck. It's going to be an interesting journey. It's not going to be easy, but you're going to

                   win. You're going to win, win, win and fight, fight, fight, and it's going to end up being a tremendous result for this country.


                   Donald Trump     01:04:07-01:04:13 (6 sec)                                                                                 NO SIGNAL (0.263)
                                                                                                                                                                 X
                   So, thank you all very much. God bless America. God bless you all. Thank you.




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4/4/25, 5:19 PM      Case 1:25-cv-00916-JDB              Document
                               Roll Call Factba.se - Speech:            19-12
                                                             Donald Trump Addresses Filed
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